                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN


MATTHEW J. HARRIS,

            Plaintiff,

     v.                                       Case No. 21C1011

BRIAN FOSTER, et al.,

            Defendants.


                         PROPOSED PROTECTIVE ORDER


       Based on the Stipulation of the parties and the factual representations set
forth therein, the Court finds that exchange of sensitive information between or
among the parties and/or third parties other than in accordance with this Order may
cause unnecessary damage and injury to the parties or to others. The Court further
finds that the terms of this Order are fair and just and that good cause has been
shown for entry of a protective order governing the confidentiality of documents
produced in discovery, answers to interrogatories, answers to requests for admission,
and deposition testimony.

      IT IS THEREFORE ORDERED THAT, pursuant to Fed. R. Civ. P. 26(c)
and Civil L. R. 26(e):




                                          1




     Case 1:21-cv-01011-WCG      Filed 10/13/23   Page 1 of 6    Document 73-1
       (A) DESIGNATION OF CONFIDENTIAL OR ATTORNEYS’ EYES
ONLY INFORMATION. Designation of information under this Order must be made
by placing or affixing on the document or material, in a manner that will not interfere
with its legibility, the words “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”

            (1)     One who produces information, documents, or other material may
      designate them as “CONFIDENTIAL” when the person in good faith believes
      they contain trade secrets or nonpublic confidential technical, commercial,
      financial, personal, or business information.

             (2)   One who produces information, documents, or other material may
      designate them as “ATTORNEYS’ EYES ONLY” when the person in good faith
      believes that they contain particularly sensitive trade secrets or other
      nonpublic confidential technical, commercial, financial, personal, or business
      information that requires protection beyond that afforded by a
      CONFIDENTIAL designation.

             (3) Except for information, documents, or other materials produced for
      inspection at the party’s facilities, the designation of confidential information
      as CONFIDENTIAL or ATTORNEYS’ EYES ONLY must be made prior to, or
      contemporaneously with, their production or disclosure. In the event that
      information, documents or other materials are produced for inspection at the
      party’s facilities, such information, documents, or other materials may be
      produced for inspection before being marked confidential. Once specific
      information, documents, or other materials have been designated for copying,
      any information, documents, or other materials containing confidential
      information will then be marked confidential after copying but before delivery
      to the party who inspected and designated them. There will be no waiver of
      confidentiality by the inspection of confidential information, documents, or
      other materials before they are copied and marked confidential pursuant to
      this procedure.

             (4)   Portions of depositions of a party’s present and former officers,
      directors, employees, agents, experts, and representatives will be deemed
      confidential only if designated as such when the deposition is taken or within
      30 days of receipt of the deposition transcript.


                                           2




     Case 1:21-cv-01011-WCG       Filed 10/13/23   Page 2 of 6    Document 73-1
             (5)   If a party inadvertently produces information, documents, or
      other material containing CONFIDENTIAL or ATTORNEYS’ EYES ONLY
      information without marking or labeling it as such, the information,
      documents, or other material shall not lose its protected status through such
      production and the parties shall take all steps reasonably required to assure
      its continued confidentiality if the producing party provides written notice to
      the receiving party within 10 days of the discovery of the inadvertent
      production, identifying the information, document or other material in
      question and of the corrected confidential designation.

       (B) DISCLOSURE AND USE OF CONFIDENTIAL INFORMATION.
Information, documents, or other material designated as CONFIDENTIAL OR
ATTORNEYS’ EYES ONLY under this Order must not be used or disclosed by the
parties or counsel for the parties or any persons identified in subparagraphs (B)(1)
and (2) below for any purposes whatsoever other than preparing for and conducting
the litigation in which the information, documents, or other material were disclosed
(including appeals). The parties must not disclose information, documents, or other
material designated as confidential to putative class members not named as plaintiffs
in putative class litigation unless and until one or more classes have been certified.
Nothing in this Order prohibits a receiving party that is a government agency from
following its routine uses and sharing such information, documents or other material
with other government agencies or self-regulatory organizations as allowed by law.

             (1)   CONFIDENTIAL INFORMATION. The parties and counsel for
      the parties must not disclose or permit the disclosure of any information,
      documents or other material designated as “CONFIDENTIAL” by any other
      party or third party under this Order, except that disclosures may be made in
      the following circumstances:

                   (a)     Disclosure may be made to employees of counsel for the
             parties or, when the party is a government entity, employees of the
             government, who have direct functional responsibility for the
             preparation and trial of the lawsuit. Any such employee to whom counsel
             for the parties makes a disclosure must be advised of, and become
             subject to, the provisions of this Order requiring that the information,
             documents, or other material be held in confidence.

                                          3




     Case 1:21-cv-01011-WCG       Filed 10/13/23   Page 3 of 6   Document 73-1
               (b)   Disclosure may be made only to employees of a party
       required in good faith to provide assistance in the conduct of the
       litigation in which the information was disclosed who are identified as
       such in writing to counsel for the other parties in advance of the
       disclosure of the confidential information, documents or other material.

              (c)   Disclosure may be made to court reporters engaged for
       depositions and those persons, if any, specifically engaged for the limited
       purpose of making copies of documents or other material. Before
       disclosure to any such court reporter or person engaged in making
       copies, such reporter or person must agree to be bound by the terms of
       this Order.

              (d)    Disclosure may be made to consultants, investigators, or
       experts (collectively “experts”) employed by the parties or counsel for the
       parties to assist in the preparation and trial of the lawsuit. Before
       disclosure to any expert, the expert must be informed of and agree to be
       subject to the provisions of this Order requiring that the information,
       documents, or other material be held in confidence.

             (e)    Disclosure may be made to deposition and trial witnesses
       in connection with their testimony in the lawsuit and to the Court and
       the Court’s staff.

              (f)   Disclosure may be made to persons already in lawful and
       legitimate possession of such CONFIDENTIAL information.

        (2)    ATTORNEYS’ EYES ONLY INFORMATION. The parties and
 counsel for the parties must not disclose or permit the disclosure of any
 information, documents, or other material designated as “ATTORNEYS’ EYES
 ONLY” by any other party or third party under this Order to any other person
 or entity, except that disclosures may be made in the following circumstances:

             (a)    Disclosure may be made to counsel and employees of
       counsel for the parties who have direct functional responsibility for the
       preparation and trial of the lawsuit. Any such employee to whom counsel
       for the parties makes a disclosure must be advised of, and become

                                     4




Case 1:21-cv-01011-WCG      Filed 10/13/23    Page 4 of 6   Document 73-1
            subject to, the provisions of this Order requiring that the information,
            documents, or other material be held in confidence.

                    (b) Disclosure may be made to court reporters engaged for
            depositions and those persons, if any, specifically engaged for the limited
            purpose of making copies of documents or other material. Before
            disclosure to any such court reporter or person engaged in making
            copies, such reporter or person must agree to be bound by the terms of
            this Order.

                   (c)    Disclosure may be made to consultants, investigators, or
            experts (collectively “experts”) employed by the parties or counsel for the
            parties to assist in the preparation and trial of the lawsuit. Before
            disclosure to any expert, the expert must be informed of and agree to be
            subject to the provisions of this Order requiring that the information,
            documents, or other material be held in confidence.

                  (d)    Disclosure may be made to deposition and trial witnesses
            in connection with their testimony in the lawsuit and to the Court and
            the Court’s staff.

                   (e)   Disclosure may be made to persons already in lawful and
            legitimate possession of such ATTORNEYS’ EYES ONLY information.

      (C) MAINTENANCE OF CONFIDENTIALITY. Except as provided in
subparagraph (B), counsel for the parties must keep all information, documents, or
other material designated as confidential that are received under this Order secure
within their exclusive possession and must place such information, documents, or
other material in a secure area.

            (1)    All copies, duplicates, extracts, summaries, or descriptions
      (hereinafter referred to collectively as “copies”) of information, documents, or
      other material designated as confidential under this Order, or any portion
      thereof, must be immediately affixed with the words “CONFIDENTIAL” or
      “ATTORNEYS’ EYES ONLY” if not already containing that designation.

            (2)     To the extent that any answers to interrogatories, transcripts of
      depositions, responses to requests for admissions, or any other papers filed or
                                          5




     Case 1:21-cv-01011-WCG      Filed 10/13/23    Page 5 of 6   Document 73-1
      to be filed with the Court reveal or tend to reveal information claimed to be
      confidential, these papers or any portion thereof must be filed under seal by
      the filing party with the Clerk of Court utilizing the procedures set forth in
      General L. R. 79(d). If a Court filing contains information, documents, or other
      materials that were designated “CONFIDENTIAL” or “ATTORNEYS’ EYES
      ONLY” by a third party, the party making the filing shall provide notice of the
      filing to the third party.

       (D) CHALLENGES TO CONFIDENTIALITY DESIGNATION. A party
may challenge the designation of confidentiality by motion. The movant must
accompany such a motion with the statement required by Civil L. R. 37. The
designating party bears the burden of proving that the information, documents, or
other material at issue are properly designated as confidential. The Court may award
the party prevailing on any such motion actual attorney fees and costs attributable
to the motion.

        (E) CONCLUSION OF LITIGATION. At the conclusion of the litigation,
a party may request that all information, documents, or other material not filed with
the Court or received into evidence and designated as CONFIDENTIAL or
ATTORNEYS’ EYES ONLY under this Order must be returned to the originating
party or, if the parties so stipulate, destroyed, unless otherwise provided by law.
Notwithstanding the requirements of this paragraph, a party may retain a complete
set of all documents filed with the Court, subject to all other restrictions of this Order.




                                            6




     Case 1:21-cv-01011-WCG         Filed 10/13/23    Page 6 of 6    Document 73-1
